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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 UNITED STATES OF AMERICA,                  § CIVIL ACTION NO. 4:22-cv-1279
 Plaintiff, and                             §
                                            § JUDGE CHARLES R. ESKRIDGE III
 STATE OF TEXAS,                            §
 Plaintiff,                                 §
                                            §
 V.                                         §
                                            §
 CITY OF BAYTOWN, TEXAS,                    §
 Defendant.                                 §

      Bayou City Waterkeeper’s Unopposed Motion to Intervene Under FRCP 24(a)(1)

        Bayou City Waterkeeper (“BCWK”) files this Motion to Intervene under FRCP

24(a)(1) and 33 U.S.C. § 1365(b)(1)(B). A copy of the intervention complaint is attached

to this motion as Exhibit 1. The motion is unopposed by all parties. BCWK asks the

Court to grant this motion.

             Nature and Stage of the Proceeding and Facts Relevant to Motion

        On February 28, 2022, Bayou City Waterkeeper served the defendant City of

Baytown (“City”) with a 60-day notice of intent to sue under the Clean Water Act. (See

Exhibit 1-1, BCWK’s Notice of Intent to Sue the City of Baytown.) The notice identified

more than 800 sanitary sewer overflows and other unpermitted discharges (“SSOs”) from

the City’s wastewater collection and treatment system, each of which BCWK identified

as a potential violation of the Clean Water Act and the City’s related permits. (Id.)



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BCWK’s notice also explained that these SSOs present an environmental justice issue

because they disproportionately affect Latinx/Hispanic communities in Baytown.

      On April 21, 2022, the United States of America, through the Administrator of the

U.S. Environmental Protection Agency (“EPA”), and the State of Texas filed this action

against the City of Baytown for more than 800 unpermitted discharges from the City’s

wastewater treatment and collection systems. (Doc. 1, ¶ 57.) The plaintiffs assert these

discharges violate the federal Clean Water Act, Texas Water Code, and permits issued

under the State of Texas’ Pollutant Discharge Elimination System program implemented

under the federal Clean Water Act. (Id., ¶¶ 69-106.)

      Bayou City Waterkeeper now seeks to intervene as a matter of right under FRCP

24(a)(1) and the Clean Water Act, 33 U.S.C. § 1365(b)(1)(B).

             Issues Requiring Resolution, Relevant Authority, and Argument

      This motion presents a single issue, which is not opposed: whether BCWK may

intervene in this action. BCWK files this motion under FRCP 24(a)(1), which on a timely

motion, compels intervention when a federal statute grants an unconditional right to

intervene. The Clean Water Act expressly authorizes organizations like BCWK to

“intervene as a matter of right” in actions like this one. See 33 U.S.C. § 1365(b)(1)(B).

Specifically, the statute states that when “the Administrator [of the EPA] or State has

commenced and is diligently prosecuting a civil or criminal action in a court of the

United States… to require compliance with the standard, limitation, or order” set by the




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Clean Water Act “any citizen may intervene as a matter of right.” Id. Courts regularly

conclude that this provision of the Clean Water Act “confers upon all applicants an

unconditional right to intervene under Rule 24(a)(1).” Ohio v. Callaway, 497 F.2d 1235,

1242 (6th Cir. 1974) (emphasis added); see also United States v. Ketchikan Pulp Co., 430

F. Supp. 83, 85 (D. Alaska 1977) (Section 1365 “allow[s] any affected citizen to

intervene in a government action as a matter of right”).

       Bayou City Waterkeeper is a “citizen” to which the Clean Water Act grants an

“unconditional” right to intervene in this action. Callaway, 497 F.2d at 1242; see 33

U.S.C. § 1365(b)(1)(B). Section 1365 defines “citizen” as any “person or persons having

an interest which is or may be adversely affected.” 33 U.S.C. § 1365(g). The Clean Water

Act further defines a “person” as “an individual, corporation, partnership, association,

State, municipality, commission, or political subdivision of a State, or any interstate

body.” 33 U.S.C. § 1362(5).

       BCWK meets this standard; BCWK is a “citizen” granted the right to intervene

under the CWA because it is a “person” with “an interest which is or may be adversely

affected.” 33 U.S.C. § 1365(g). BCWK is a Houston-based non-profit organization

focused on water and its relationship with communities in the Lower Galveston Bay

watershed. The Lower Galveston Bay watershed corresponds to the greater Houston

region and includes Baytown and the waterways flowing through it. BCWK intervenes to

assert its specific interests in (1) protecting the health of bayous, creeks, rivers, and bays




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in this region, (2) addressing environmental injustices caused by regional water pollution

and infrastructure, and (3) promoting equity and climate resilience in water infrastructure

decisions affecting our region’s water and people. The City of Baytown’s alleged

repeated failure to comply with the Clean Water Act adversely affects these interests.

BCWK’s notice of intent to sue, which preceded the plaintiffs’ enforcement action,

affirms BCWK’s interest in this litigation and commitment to finding a resolution to the

City’s legal violations and the harms they continue to create.

       The Clean Water Act allows BCWK to intervene as a matter of right, and the other

parties to this action do not oppose intervention. The Court should grant this motion.

                                        Conclusion

       Because Bayou City Waterkeeper may intervene as a matter of right under the

Clean Water Act, 33 U.S.C. § 1365(b)(1)(B), the Court should grant this motion under

FRCP 24(a)(1) and enter the intervention complaint attached as Exhibit 1 into the docket.

                                          Respectfully submitted on April 28, 2022.

                                           /s/ Kristen Schlemmer
                                           Kristen Schlemmer, Attorney-in-charge
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                                Certificate of Word Count

Excluding the caption, signature block, and certificates, this response contains 853 words

and is within the 5,000 word limit contained in Rule 18(c) of this Court’s procedures.

                                          /s/ Kristen Schlemmer
                                          Kristen Schlemmer
                                          Attorney for Bayou City Waterkeeper



                                Certificate of Conference

I conferred with counsel for the parties in this matter on April 27 and 28, 2022. Counsel

for each of the parties confirmed that they do not oppose the relief sought by this motion.

Counsel for plaintiffs advised: “Plaintiffs will not oppose Waterkeeper’s intervention of

right pursuant to 33 U.S.C. § 1365(b)(1)(B) and FRCP 24(a)(1), but reserve our rights to

move the Court to place reasonable limits on Waterkeeper’s participation in the litigation

and settlement discussions, if necessary.” Counsel for the defendant advised: “Without

waiving any rights or defenses the City of Baytown may have with regard to the

substantive claims in the Complaint in Intervention, including but not limited to Bayou

City Waterkeeper’s (“BCW”) status as a citizen under applicable law and objections to

any BCW role in the matter, the City of Baytown does not oppose BCW’s Motion to

Intervene pursuant to Clean Water Act, 33. U.S.C. § 1365(b)(1)(B).”

                                          /s/ Kristen Schlemmer
                                          Kristen Schlemmer
                                          Attorney for Bayou City Waterkeeper




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                                       Certificate of Service

       I certify that on April 28, 2022, I electronically filed this document and all

attachments using the CM/ECF system, which automatically sends notice and a copy of

the filing to all counsel of record.

                                              /s/ Kristen Schlemmer
                                              Kristen Schlemmer
                                              Attorney for Bayou City Waterkeeper




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